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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

OSHONYA SPENCER, ET AL                      :
    Plaintiff,                              :      CIVIL ACTION NO.
                                            :      3:05-cv-01681(JCH)
v.                                          :
                                            :
THE HARTFORD FINANCIAL                      :
SERVICES, ET AL                             :      May 1, 2008
     Defendants.                            :


             RULING RE: PLAINTIFFS’ MOTION TO AMEND (Doc. No. 119)

I.     INTRODUCTION

       Oshonya Spencer, Charles Strickland, and Douglas McDuffie, (collectively

“plaintiffs”) move the court for leave to amend their Complaint. See Mot. to Amend.

(Doc. No. 119). The Hartford Financial Services Group, Inc., Hartford Life, Inc.,

Hartford Life Insurance Co., Hartford Accident and Indemnity Company, Hartford

Casualty Insurance Co., Hartford Insurance Co. of the Midwest, and Hartford Fire

Insurance Co, (collectively “defendants”) oppose plaintiffs’ Motion to Amend on the

grounds that the motion was made with undue delay, was based on a bad faith motive,

and would prejudice the defendants.1 See Def.s’ Mem. in Opp. at 21-2. In response to

two of defendants’ objections, plaintiffs revised the proposed Second Amended

Complaint. See Pl.’s Reply at 3-4 (Doc. No. 153). Therefore, it is the revised Second

Amended Complaint attached to plaintiffs’ Reply Memorandum that is the subject of this

Ruling.



       1
        Defendants also argued that plaintiffs’ Motion to Amend should properly be decided
under the “good cause” standard of Federal Rule of Civil Procedure 16. However, none of the
scheduling orders in this case set forth a deadline for amending pleadings, and therefore Rule
16 does not apply. See Scheduling Orders (Doc. Nos. 58, 95 and 113)
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II.    DISCUSSION

       Federal Rule of Civil Procedure provides that a court should “freely give leave” to

a party to amend its pleading “when justice so requires.” FED .R.CIV.P. 15(a)(2). Leave

to amend should only be denied when “there is evidence of undue delay, bad faith,

undue prejudice to the non-movant, or futility.” Milanese v. Rust-Oleum Corp., 244 F.3d

104, 110 (2d Cir. 2001) (citing Forman v. Davis, 371 U.S. 178, 182 (1962)).

       The court finds that defendants have not put forth sufficient evidence to establish

that plaintiffs moved to amend with undue delay or bad faith. At the hearing on this

Motion, the court was persuaded by plaintiffs’ counsel that, while the paper discovery

which lead plaintiffs to a new theory of the case was turned over by defendants some

time ago, plaintiffs were forced to wait until the completion of certain depositions before

their revised theories could be fully formulated and they could move to amend. See

Transcript of Hearing (April 8, 2008) (Doc. No. 167). While it is true that plaintiffs’

Motion to Amend was filed on the same day their class certification brief was due, the

court does not find this fact alone sufficient to find that plaintiffs acted in bad faith in

filing their Motion to Amend.

       The defendants further argue that granting plaintiffs’ Motion will prejudice them

because they will be required to undertake additional discovery, it will render the

sampling frame that has been created statistically invalid, and considerably delay the

resolution of the case. Addressing the defendants’ concern regarding the sampling

frame, the court ordered plaintiffs to produce an affidavit from their expert to address

whether plaintiffs’ proposed Amended Complaint would render the sampling frame



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useless. See Order (Doc. No. 162). Plaintiffs’ expert, James E. Dannemiller, submitted

to the court that the current sampling frame included “structured settlements entered

into by claimants without the assistance of a broker.” Affidavit of James E. Dannemiller

at ¶ 2 (Doc. No. 165). This statement satisfies the court that the addition of plaintiffs

who were not represented by a broker will not render the current sampling frame

invalid.

       Relying on Rule 15's admonition to permit amendment “when justice so

requires,” but taking into consideration defendants’ concerns, plaintiffs’ Motion to

Amend is GRANTED with the following limitations. First, plaintiffs will rely on the

existing sampling frame without alteration. Second, plaintiffs are not to take any

additional class discovery as a result of the new complaint. Third, defendants are given

forty-five days to conduct class discovery limited to the new plaintiffs. Fourth,

defendants should file any opposition to the plaintiffs’ Motion for Class Certification

within 75 days of the issuance of this Ruling.

SO ORDERED.

       Dated at Bridgeport, Connecticut, this 1st day of May, 2008.



                                          /s/ Janet C. Hall
                                          Janet C. Hall
                                          United States District Judge




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